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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
vs.                                    )
                                       )       FILE No. _____________________
PSA VENTURES LLC,                      )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant PSA VENTURES LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                                 JURISDICTION

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.




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                                     PARTIES

       2.     Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Dallas,

Georgia (Paulding County).

       3.     Plaintiff is disabled as defined by the ADA.

       4.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       5.     Plaintiff uses a wheelchair for mobility purposes.

       6.     Defendant PSA VENTURES LLC (hereinafter “Defendant”) is a

Georgia limited liability company, and transacts business in the state of Georgia

and within this judicial district.

       7.     Defendant may be properly served with process via its registered

agent for service, to wit: Mehran Mikailizadeh, 1235 Woodlawn Drive, Marietta,

Georgia 30068.

                            FACTUAL ALLEGATIONS

       8.     On or about October 18, 2018, Plaintiff was a customer at “Blessed

Tropical Foods,” a business located at 2365 Powder Springs Road, S.W., Marietta,

Georgia 30064.


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      9.     Defendant is the owner or co-owner of the real property and

improvements that the Facility is situated upon and that is the subject of this action.

(The structures and improvements situated upon said real property shall be

referenced herein as the “Facility,” and said real property shall be referenced

herein as the “Property”).

      10.    Plaintiff lives in the near vicinity of the Facility and Property.

      11.    Plaintiff’s access to the business(es) located at 2365 Powder Springs

Road, S.W., Marietta, Georgia 30064, Cobb County Property Appraiser’s parcel

number 19069400080, and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of her disabilities, and she will be

denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      12.    Plaintiff has visited the Facility at least once before and intends on

revisiting the Facility once the Facility is made accessible.

      13.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      14.    Plaintiff travelled to the Facility and Property as a customer,


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encountered the barriers to access at the Facility and Property that are detailed in

this Complaint, engaged those barriers, suffered legal harm and legal injury, and

will continue to suffer such harm and injury as a result of the illegal barriers to

access present at the Facility and Property.

                              COUNT I
                  VIOLATIONS OF THE ADA AND ADAAG

      15.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      16.    The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      18.    The Facility is a public accommodation and service establishment.

      19.    The Property is a public accommodation and service establishment.

      20.    The Facility is a multi-story structure that has more than 3,000 (three

thousand) square feet per story.

      21.    Each story of the Facility has an occupancy load greater than five (5)

persons.

      22.    The Facility is a shopping center and/or shopping mall as defined by

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the ADA and ADAAG.

      23.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      24.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

but could not fully do so because of her disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit her access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA


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violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facility

and Property, but will be unable to fully do so because of her disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit her access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      31.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.       The access aisle adjacent to the two accessible parking spaces

               on the Property most proximate to Unit 1105 is not level, due to

               the presence of a ramp within the boundaries of said access

               aisle, in violation of section 502.4 of the 2010 ADAAG

               standards. One of said parking spaces is also not level due to

               the presence of ramp side flares within the boundaries of such

               accessible parking space, in further violation of section 502.4 of

               the 2010 ADAAG standards.

      b.       The access aisle adjacent to the two accessible parking spaces

               on the Property most proximate to Unit 1113 is not level, due to

               the presence of a ramp within the boundaries of said access

               aisle, in violation of section 502.4 of the 2010 ADAAG

               standards. One of said accessible parking spaces is also not


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         level due to the presence of ramp side flares within the

         boundaries of such accessible parking space, in further violation

         of section 502.4 of the 2010 ADAAG standards.

c.       The access aisle adjacent to the accessible parking space on the

         Property most proximate to Units 1125 and 1127 is not level

         due to the presence of a ramp within the boundaries of said

         access aisle, in violation of section 502.4 of the 2010 ADAAG

         standards.

d.       The access aisle adjacent to the accessible parking space on the

         rear potion of the Property (most proximate to Unit 1117 is not

         level due to the presence of a ramp within the boundaries of

         said access aisle, in violation of section 502.4 of the 2010

         ADAAG standards.

e.       There is no accessible route that connects between all

         accessible facilities, elements and available spaces of the

         Facility on the Property, in violation of section 206.2.3 of the

         2010 ADAAG standards.

f.       The interior of the Unit 1125 portion of the Facility has walking

         surfaces lacking 36 (thirty-six) inches of clear width, in


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             violation of section 403.5.1 of the 2010 ADAAG standards.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary


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modifications.

      38.    Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.


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WHEREFORE, Plaintiff prays as follows:

(a)   That the Court find Defendant in violation of the ADA and ADAAG;

(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility to make it

      readily accessible to and useable by individuals with disabilities to the

      extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: November 5, 2018.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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